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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           2:06-CR-00343-DLJ
                                   )
12             Plaintiff,          )           PRELIMINARY
                                   )           ORDER OF FORFEITURE
13        v.                       )
                                   )
14   PRASERT SOMSINSAWASDI, and    )
     NOY SOMSINSAWASDI,            )
15                                 )
                   Defendants.     )
16   ______________________________)
17        Upon the stipulation and application for preliminary order of
18   forfeiture, the Court makes the following FINDINGS AND ORDERS:
19        1.   As the result of the guilty plea of Prasert Somsinsawasdi
20   to Count One of the Superseding Indictment which charges him with
21   conducting an illegal gambling business in violation of 18 U.S.C. §
22   1955(a), and to Count Two of the Superseding Indictment which
23   charges him with conspiracy to launder money in violation of 18
24   U.S.C. § 1956(h); and the guilty plea of Noy Somsinsawasdi to Count
25   One of the Superseding Indictment, which charges her with conducting
26   an illegal gambling business in violation of 18 U.S.C. § 1955(a),
27   the defendants, and each of them, shall forfeit to the United
28   States:

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 1                a.   Approximately $25,385 in U.S. currency
                       seized at the residence of Prasert and Noy
 2                     Somsinsawasdi at 8452 Almanera Lane,
                       Sacramento, California, on August 16, 2006;
 3
                  b.   Approximately $1,183.00 in U.S. currency seized at
 4                     the residence of Prasert and Noy Somsinsawasdi at
                       8452 Almanera Lane, Sacramento, California, on August
 5                     16, 2006.
 6                c.   Approximately $8,940 in U.S. currency seized from
                       Bank of America bank box #B1307, located at a Bank of
 7                     America branch at 5744 Stockton Blvd, Sacramento,
                       California, on August 16, 2006, and controlled by
 8                     Prasert and Noy Somsinsawasdi; and
 9                d.   Approximately $115,932.00 which represents the net
                       sale proceeds from the real property known as vacant
10                     land located at 8488 Waterwell Way, Tracy,
                       California, APN: 248-440-24.
11
12        2.   The Court finds, based upon the stipulation and application
13   for preliminary order of forfeiture, the guilty pleas and plea
14   agreements of Prasert Somsinsawasdi and Noy Somsinsawasdi, and the
15   Court’s files and records in this action, that the above-listed
16   property is subject to forfeiture pursuant to 18 U.S.C. §
17   981(a)(1)(C) (as incorporated by 28 U.S.C. § 2461(c)) and 18 U.S.C.
18   § 1955(d).
19        3.   The Court finds that the above-listed properties:            (1)
20   constitute or are derived from proceeds traceable to a violation of
21   18 U.S.C. § 1955(a) as charged in Count One of the Superseding
22   Indictment; and (2) constitute property, including money, used in
23   violation of 18 U.S.C. § 1955(a) as charged in Count One of the
24   Superseding Indictment.
25        4.   As the result of the offenses of conviction set forth in
26   paragraph one above, and based upon the plea agreement of Prasert
27   Somsinsawasdi, the Court hereby enters a money judgment against
28   defendant Prasert Somsinsawasdi in the amount of $200,000.             Said

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 1   amount reflects the amounts involved in the violation of 18 U.S.C. §
 2   1956(h) set forth in Count Two of the Superseding Indictment, to
 3   which the defendant has pled guilty.          The specific assets forfeited
 4   under paragraph 1.a-d should not set off against the money judgment.
 5        5.     Not less than one week prior to sentencing, defendant
 6   Prasert Somsinsawasdi shall pay the $200,000 money judgment to the
 7   government.      Payment should be made by cashier’s check(s) made
 8   payable to the Department of Treasury and addressed to the U.S.
 9   Attorney’s Office, Att: Asset Forfeiture Unit, 501 I Street, Suite
10   10-100, Sacramento, CA 95814.         Prior to the imposition of sentence,
11   any funds delivered to the United States to satisfy the personal
12   money judgment shall be held and maintained by the Department of
13   Treasury in its secure custody and control.           At sentencing, and upon
14   the imposition of the forfeiture money judgment, such funds shall be
15   applied against the forfeiture money judgment and forfeited to the
16   United States to be disposed of as provided for by law.
17        6.     If defendant Prasert Somsinsawasdi has not paid the
18   $200,000 money judgment in full at least one week prior to
19   sentencing, the Department of Treasury shall be authorized to sell
20   the real property located at 8452 Almanera Lane, Sacramento,
21   California, APN: 115-1680-005-0000, in the most commercially
22   feasible manner, as soon as reasonably possible, for the maximum
23   price.     The United States shall receive through escrow the net
24   proceeds up to the balance owing on the $200,000 money judgment,
25   less payments for costs of selling the property, legitimate liens,
26   and taxes that exist on the above-listed real property.             Prasert
27   Somsinsawasdi and Noy Somsinsawasdi shall receive all remaining
28   amounts after payment of costs of sale, legitimate liens, taxes, and

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 1   repairs or costs incurred by the Department of Treasury.           Prasert
 2   Somsinsawasdi and Noy Somsinsawasdi shall maintain the real property
 3   in the same condition and repair as existed as of August 25, 2006,
 4   normal wear and tear excepted, until Prasert Somsinsawasdi is
 5   directed by the Department of Treasury (or designee) to vacate the
 6   premises, and shall not sell, transfer or encumber the property
 7   pending sale.
 8        7.   If the net proceeds from the sale of real property located
 9   at 8452 Almanera Lane, Sacramento, California, APN: 115-1680-005-
10   0000 do not satisfy the $200,000 forfeiture money judgment in full,
11   the United States may pursue such post-judgment remedies as may be
12   provided by law to collect on such money judgment.
13        8.   Within forty-five (45) days from entry of a Final Order of
14   Forfeiture forfeiting the above-listed properties, the U.S. Marshals
15   Service shall return the following properties to defendants Noy
16   Somsinsawsdi and Prasert Somsinsawsdi:
17              a.   The following U.S. Savings Bonds, Series EE, payable
                     to Prasert Somsinsawasdi: (I) two $5,000 bonds,
18                   issued 11-19-04, with serial numbers 0006414346 and
                     0006414347, total face value of $10,000; and (ii) six
19                   $1,000 bonds, issued 11-19-04, with sequential serial
                     numbers from 0080955127 through 0080955132, total
20                   face value of $6,000,seized at the residence of
                     Prasert and Noy Somsinsawasdi at 8452 Almanera Lane,
21                   Sacramento, California, on August 16, 2006;
22              b.   The following U.S. Savings Bonds: (I) one $1,000
                     Series I bond with serial numbers 6028195 payable to
23                   Duke Somsinsawasdi or Noy Somsinsawsdi; (ii) six
                     Series EE $1,000 bonds payable to Duke Somsinsawasdi
24                   or Prasert Somsinsawsdi, with serial numbers from
                     79963113 through 79963715, 80495805, 81135780 and
25                   82564569 total face value of $6,000; and (iii) one
                     $5,000 Series EE bond payable to Duke Somsinsawasdi
26                   or Prasert Somsinsawsdi, serial number 6295914,
                     seized at the residence of Prasert and Noy
27                   Somsinsawasdi at 8452 Almanera Lane, Sacramento,
                     California, on August 16, 2006; and
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 1                 c.   Approximately $2,340.00 in U.S. currency seized from
                        the Thai Nakorn Restaurant at 1180 35th Avenue,
 2                      Sacramento, California, on August 16, 2006.
 3   The Government will also send a Notice of Withdrawal of Lis Pendens
 4   to be recorded with the County Recorder regarding the real property
 5   located at 3844 Clay Street, Sacramento, California, APN: 251-0072-
 6   001.
 7          9.    Pursuant to 28 U.S.C. § 2461(c) incorporating 21 U.S.C. §
 8   853(n) and Local Rule 83-171, the United States forthwith shall
 9   publish at least once for three successive weeks in the Daily
10   Recorder (Sacramento County), a newspaper of general circulation
11   located in the county in which the above-described property was
12   seized or in the county in which the above-described property is
13   located, notice of this Order, notice of the Attorney General or
14   Secretary of Treasury’s intent to dispose of the property in such
15   manner as the Attorney General or Secretary of Treasury may direct,
16   and notice that any person, other than the defendants, having or
17   claiming a legal interest in the above-listed property must file a
18   petition with the Court within thirty (30) days of the final
19   publication of the notice or of receipt of actual notice, whichever
20   is earlier.
21          10.   This notice shall state that the petition shall be for a
22   hearing to adjudicate the validity of the petitioner's alleged
23   interest in the property, shall be signed by the petitioner under
24   penalty of perjury, and shall set forth the nature and extent of the
25   petitioner's right, title or interest in the property and any
26   additional facts supporting the petitioner's claim and the relief
27   sought.
28          11.   The United States may also, to the extent practicable,

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 1   provide direct written notice to any person known to have alleged an
 2   interest in the property that is the subject of the Order of
 3   Forfeiture, as a substitute for published notice as to those persons
 4   so notified.
 5        12.     If a petition is timely filed, upon adjudication of all
 6   third-party interests, if any, this Court will enter a Final Order
 7   of Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) (as incorporated
 8   by 28 U.S.C. § 2461(c)), 18 U.S.C. § 1955(d), Fed. R. Crim. P.
 9   32.2(b) and 18 U.S.C. § 982(a)(1), in which all interests will be
10   addressed.
11        13.     The Court shall retain jurisdiction to enforce this Order,
12   and to amend it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).
13        SO ORDERED this     8th   day of     November         , 2007.
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15
                                       D. LOWELL JENSEN
16                                     United States District Judge
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